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                                                                                                   United States District Court
                                                                                                     Southern District of Texas

                                                                                                         ENTERED
                                                                                                     December 19, 2018
                                UNITED STATES DISTRICT COURT
                                                                                                      David J. Bradley, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

CRISTINA SANCHEZ,                                        §
                                                         §
           Plaintiff,                                    §
VS.                                                      § CIVIL ACTION NO. 7:18-CV-90
                                                         §
HOME DEPOT U.S.A., INC.,                                 §
                                                         §
           Defendant.                                    §

                                        OPINION AND ORDER

          Before the Court is Home Depot U.S.A. Inc. d/b/a Home Depot’s (“Defendant”) motion

for summary judgment,1 the response filed by Cristina Sanchez (“Plaintiff”),2 as well as the reply

filed by Defendant.3 After considering the motion and the relevant authorities, the Court

GRANTS Defendant’s motion for summary judgment.

    I.       BACKGROUND

          On March 9, 2016 Plaintiff was an associate working at Defendant’s store4 assigned to

the outdoor garden department.5 On that date, Plaintiff called Leonard Garcia (“Garcia”), the on-

duty supervisor, and requested that the outdoor garden department be closed due to adverse

weather conditions.6 Plaintiff told Garcia “the weather is bad, rain is bad enough that the

department has to be closed.”7 Garcia initially told Plaintiff to “wait.”8 Plaintiff then called

Garcia a second time, and Garcia told Plaintiff to close the gate to the outdoor area.9


1
  Dkt. No. 14.
2
  Dkt. No. 19.
3
  Dkt. No. 20.
4
  Located at 1500 W. Expressway 83, Weslaco, Texas 78596. See Dkt. No. 1-3 p. 4 (Plaintiff’s original petition).
5
  See id.
6
  Dkt. No. 19-4 Plaintiff Dep. 16:9–23.
7
  Dkt. No. 19-4 Plaintiff Dep. 22:21–23.
8
  Dkt. No. 19-4 Plaintiff Dep. 17:1–11.
9
  Dkt. No. 19-4 Plaintiff Dep. 22:23–25.

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           As Plaintiff walked to the gate surrounding the outdoor area, Plaintiff noticed it was

raining,10 but she testified that she did not hear thunder or see lightning or “that type of

activity.”11 Plaintiff was struck by lightning as she closed the metal gate and she alleges she

sustained injuries as a result of the lightning strike.12

           On these facts, Plaintiff filed suit in state court and Defendant subsequently removed.13

Plaintiff’s sole cause of action is negligence.14 Plaintiff seeks damages and any other relief to

which Plaintiff may be entitled.15

           Defendant subsequently timely filed a motion for summary judgment pursuant to Federal

Rule of Civil Procedure (“Rule”) 56 on Plaintiff’s negligence claim.16 Plaintiff filed a timely

response,17 and Defendant replied.18 The Court now turns to its analysis.

     II.      LEGAL STANDARD

           Under Rule 56, summary judgment is proper when there is “no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.”19 In a motion for

summary judgment, the movant bears the initial burden of showing the absence of a genuine

issue of material fact.20 The burden then shifts to the non-movant to demonstrate the existence of

a genuine issue of material fact.21 “A fact is ‘material’ if its resolution could affect the outcome

of the action,”22 while a “genuine” dispute is present “only if a reasonable jury could return a


10
   Dkt. No. 14-3 Plaintiff Dep. 15:16–17.
11
   Dkt. No. 14-3 Plaintiff Dep. 26:1–12.
12
   Dkt. No. 1-3 p. 5.
13
   See Dkt. No. 1.
14
   Dkt. No. 1-3 p. 5.
15
   Id. at pp. 9–10.
16
   Dkt. No. 14.
17
   Dkt. No. 19.
18
   Dkt. No. 20.
19
   Fed. R. Civ. P. 56(a).
20
   See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
21
   See id. at 323.
22
   Burrell v. Dr. Pepper/Seven UP Bottling Grp., Inc., 482 F.3d 408, 411 (5th Cir. 2007) (internal quotation marks
and citation omitted).

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verdict for the non-movant.”23 As a result, “[o]nly disputes over facts that might affect the

outcome of the suit under the governing law will properly preclude the entry of summary

judgment.”24

            In conducting its analysis, the Court considers evidence from the entire record and views

that evidence in the light most favorable to the non-movant.25 Rather than combing through the

record on its own, the Court looks to the motion for summary judgment and response to present

the evidence for consideration.26 Parties may cite to any part of the record, or bring evidence in

the motion and response.27 By either method, parties need not proffer evidence in a form

admissible at trial,28 but must proffer evidence substantively admissible at trial.29

            As to any question of law, because federal jurisdiction is invoked on the basis of diversity

of citizenship,30 this Court, Erie-bound, must adhere to grounds of relief authorized by the state

law of Texas.31 Absent a decision by a state’s highest tribunal, the decisions by Texas courts of

appeals are controlling “unless [the Court] is convinced by other persuasive data that the highest

court of the state would decide otherwise.”32

     III.      ANALYSIS

            An action for negligence in Texas requires plaintiff to demonstrate: (1) a legal duty owed

by one person to another; (2) a breach of that duty; and (3) damages proximately caused by the



23
   Fordoche, Inc. v. Texaco, Inc., 463 F.3d 388, 392 (5th Cir. 2006) (citation omitted).
24
   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
25
   See Moore v. Willis Indep. Sch. Dist., 233 F.3d 871, 874 (5th Cir. 2000) (citations omitted).
26
   See Fed. R. Civ. P. 56(e).
27
   See Fed. R. Civ. P. 56(c).
28
   See Celotex Corp., 477 U.S. at 324 (“We do not mean that the nonmoving party must produce evidence in a form
that would be admissible at trial in order to avoid summary judgment.”).
29
   See Bellard v. Gautreaux, 675 F.3d 454, 460 (5th Cir. 2012) (“[T]he evidence proffered by the plaintiff to satisfy
his burden of proof must be competent and admissible at trial.”).
30
   See Dkt. No. 1 p. 2.
31
   See Exxon Co. U.S.A, Div. of Exxon Corp. v. Banque De Paris Et Des Pays-Bas, 889 F.2d 674, 675 (5th Cir.
   1989); see also Erie R.R. Co. v. Tompkins, 304 U.S. 64 (U.S. 1938).
32
   Id. (quoting West v. AT&T, 311 U.S. 223, 237 (1940)) (internal quotation marks omitted).

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breach.33 Neither party raises any issue regarding the first two elements and focus their analysis

solely on the third prong: whether any action of Defendant proximately caused Plaintiff’s

injuries. The Court finds that this prong is independently dispositive of Plaintiff’s claims. The

Court concludes Plaintiff cannot show that any conduct of Defendant was the proximate cause of

her injuries.

        Proximate cause includes two essential elements: foreseeability and cause in fact, or

causal relation.34 Foreseeability exists when “the actor as a person of ordinary intelligence should

have anticipated the dangers his negligent act creates for others.”35 Conduct may be the legal

cause of an injury if it “set in motion a natural and unbroken chain of events that led directly and

proximately . . .” to a particular result.36

        Texas courts have long held that a party is not responsible for injury or loss caused by an

act of God.37 To be insulated from liability due to an act of God, the defendant must show that

(1) the loss was due directly and exclusively to an act of nature and without human intervention;

and (2) no amount of foresight or care which could have been reasonably required of the

defendant could have prevented the injury.38 The absence of human intervention is not “the

absence of all human involvement but the absence of human negligence proximately causing the

injury.”39 “[T]he act of nature must be unusual or unprecedented. Yet, it need not be the sole,

greatest, or harshest violent act ever experienced . . . it need only be so unusual that it could not

have been reasonably expected or provided against.”40 For example, a Texas court of appeals in


33
   D. Hous., Inc. v. Love, 92 S.W.3d 450, 454 (Tex. 2002).
34
   Macedonia Baptist Church v. Gibson, 833 S.W.2d 557, 559 (Tex. App.—Texarkana 1992), pet. denied.
35
   El Chico Corp. v. Poole, 732 S.W.2d 306, 313 (Tex. 1987).
36
   Hart v. Van Zandt, 399 S.W.2d 791, 793, 9 Tex. Sup. Ct. J. 66 (Tex. 1965).
37
   See Gulf, C. & S. F. Ry Co. v. Texas Star Flour Mills, 143 S.W. 1179, 1182 (Tex. Civ. App.-Galveston 1912, no
writ).
38
   Id. at 320.
39
   Id.
40
   McWilliams, 112 S.W.3d at 320.

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McWilliams v. Masterson found that when a herd of cattle “instinctively” moved with a storm

onto a highway and caused a traffic accident that this constituted an act of God, even though the

reactions of the drivers to the cattle led to the accident.41

        In Macedonia Baptist Church v. Gibson, a Texas appellate court found that a church was

liable for the injuries of a churchgoer that was struck by lightning while leaving services. 42 At

trial evidence was presented that the church knew that lightning had struck the church’s steeple

in the past and that it posed a danger to both the church and the people inside.43 Further, the

church had taken responsibility for installing a lightning protection system but had deviated from

the system’s installation plan and failed to follow the architect’s recommendation.44 Finally, an

expert testified that the lightning protection system was unreasonably dangerous and that the

plaintiff’s injuries were most probably caused by a “side flash” from the lightning protection

system itself.45 The judgment of the trial court was affirmed on the basis of “factually sufficient

evidence to support a finding that Macedonia, once it determined to install and make design

changes to the system, was negligent and that its negligence caused [the plaintiff’s] injuries.”46

        Here, although Plaintiff does not specifically state the duty she believes that Defendant

has, or the conduct that she believes is in breach of that duty, Plaintiff points to the actions

and/or omissions of Garcia as the human intervention that caused her injuries.47 Plaintiff argues

that Defendant is responsible for her injuries because Defendant “failed to shut down the outdoor

garden department when it began to rain.”48 Plaintiff argues weather conditions, including



41
   McWilliams v. Masterson, 112 S.W.3d 314, 322 (Tex. App.—Amarillo 2003).
42
   833 S.W.2d 557, 559 (Tex. App.—Texarkana 1992).
43
   Id. at 560.
44
   Id.
45
   Id.
46
   Id.
47
   Dkt. No. 19 p. 5, ¶ 4.5.
48
   Dkt. No. 19 p. 10, ¶ 4.12.

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lightning, were foreseeable. In support Plaintiff points to the testimony of Holly Schuman

(“Schuman”), Front End Supervisor, and Garcia.

         Schuman testified that failure to shut down the outdoor department in the event of “rain,

thunder, or lightning”49 would violate the training she received from Defendant, and that the

outdoor area would be shut down because of “heavy rain, winds, if the floors are slick even from

a moderate rain.”50 Schuman also testified that an associate, such as Plaintiff, cannot make the

decision to shut down the outdoor department herself,51 but that a supervisor, such as Garcia,

could make that decision.52 Garcia testified that “[a]ny amount of rain” would lead to the outdoor

area being shut down.53

         The Court finds that Plaintiff’s injuries were an unfortunate act of God and not

proximately caused by Defendant’s negligence, even assuming arguendo, that any action of

Defendant’s was in breach of a duty to Plaintiff.54 In order to demonstrate proximate cause,

Plaintiff must demonstrate that Defendant’s negligence caused the injury, and not just merely

that a human was involved in the injury.55 She fails. Plaintiff’s loss was due directly and

exclusively to lightning striking the gate at the exact moment that Plaintiff went to close it, an

event that occurred without human intervention; and no amount of foresight or care from

Defendant could reasonably have prevented the injury.56 No intervention on the part of


49
   Dkt. No. 19-2 Schuman Dep. 55:13–56:5.
50
   Id. 30:7–8. Additionally, Plaintiff notes that she requested training documents in her requests for production but
that she did not receive them Dkt. No. 19 p. 6, ¶ 4.6, n. 2. Plaintiff does not request that the Court allow additional
time for discovery or aver that these documents would alter whether summary judgment is warranted. Accordingly,
the Court takes notice of Plaintiff’s statement, but does not construe Plaintiff’s note as a request for additional
discovery pursuant to Rule 56(d).
51
   Dkt. No. 19-2 Schuman Dep. 34:21-25.
52
   Id. 53:2–5.
53
   Dkt. 19-3 Garcia Dep.
54
   As the Court noted, neither party raised Defendant’s duty to Plaintiff nor what particular action or omission of
Defendant’s was in breach of that duty.
55
   Id.at 321 (“[T]hat a human may have been involved does not matter as long as his negligence, if any, did not also
cause the injury.”).
56
   McWilliams, 112 S.W.3d at 320.

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Defendant caused the lightning to strike the gate at the instant Plaintiff touched it. Plaintiff points

to no evidence that Defendant knew that the gate would attract lightning or that the gate itself

was in some way deficient.

         Garcia’s decision to delay closing the gate, although it was part of the events, did not

proximately cause Plaintiff’s injury. Like the cattle in McWilliams wandering onto the roadway

following their instincts, the lightning struck at the moment and location it did because of an act

of nature, and not from any action of Garcia or any other employee of Defendant. Neither did

Defendant’s negligence, if any, set in motion a chain of events that caused the injury. 57 Garcia’s

decision to delay, although it indirectly was a part of the reason why Plaintiff closed the gate at

that moment, did not set any event in motion that caused the lightning to strike. Indeed, if Garcia

had told Plaintiff to close the gate when she first requested, she could still have been struck by

lightning. Garcia’s delay did not set into motion a series of events that caused the lightning

strike. It was merely an unfortunate coincidence.

         Further, the lightning strike at issue here could not be “reasonably expected or provided

against.”58 Defendant had no reason to anticipate a lightning strike on the gate. Plaintiff testified

that she herself did not see or hear lightning.59 Garcia and Plaintiff both only knew that rain was

falling, and Plaintiff points to no evidence that Garcia or any other employee of Defendant knew

that this particular rainstorm brought an increased likelihood of lightning, or that the rainstorm

was more likely to accompany a lightning strike the longer the rainstorm continued. In short, the

lightning striking the gate could not have been reasonably expected.

         Defendant’s conduct here is clearly distinguished from that of the church in Macedonia

Baptist Church. In Macedonia, the church negligently installed lightning protection that

57
   See Hart, 399 S.W.2d at 793.
58
   McWilliams, 112 S.W.3d at 320.
59
   Dkt. No. 14-3 Plaintiff Dep. 26:2–6.

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malfunctioned and proximately caused the plaintiff’s injury.60 Thus, the church foresaw that

lightning could strike the steeple, and indeed, installed the lightning protection system for the

very purpose of preventing such a situation. Unlike in that situation, Defendant, here took no

action that a reasonable person would foresee would cause Plaintiff to suffer an injury in a

lightning strike.

             Thus, Plaintiff has pointed to no evidence that Defendant was the proximate cause of her

injuries and, accordingly, her claim of negligence must fail. Based on the foregoing, Plaintiff has

not met her burden of establishing a claim of negligence and this claim must BE DISMISSED.

As this is Plaintiff’s only cause of action, Defendant’s motion for summary judgment is

GRANTED.

       IV.      HOLDING

             For the foregoing reasons, the Court GRANTS Defendant’s motion61 for summary

judgment and DISMISSES WITH PREJUDICE Plaintiff’s claim of negligence and Plaintiff’s

entire action. Pursuant to Rule 58, a final judgment will issue separately.

             IT IS SO ORDERED.


             DONE at McAllen, Texas, this 19th day of December, 2018.


                                                     ___________________________________
                                                     Micaela Alvarez
                                                     United States District Judge




60
     Macedonia Baptist Church, 833 S.W.2d at 560.
61
     Dkt. No. 14.

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